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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRIC'I` OF IDAHO

BARBARA A. SPENCER,
Plaintiff,

Case No. CV 07-197-S-BLW

v.
NOTlCE OF APPEAL
CAPITAL ONE BANK; CAPITAL ONE
SERVICES, INC.; and STONEBRIDGE
BENEFIT SERVICES, INC.,

Defendants.

 

 

Notice is hereby given that Defendants Capital One Bank and Capital One Services, Inc.
hereby appeal to the United States Court of Appeals for the Ninth Circuit from the Memorandum
Decision and Order entered in this action on Septernber ll, 2007 (Docket No. 25), wherein the
District Court denied the motion to compel arbitration filed by Defendants Capital One Bank and

Capital One Services, Inc.

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Case 1:07-CV-00197-BLW Document 26 Filed 09/21/07 Page 3 of 3

CERTIFICATE OF SERVICE

l hereby certify that on September &, 2007, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to the
following persons:

jtsimmons@greenerlaw.com (Jon T. Simmons)
wwoodard@greenerlaw.com (Wade L. Woodward)

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And, I hereby certify that I have mailed by United States Postal Service the foregoing
documents(s) to the following non-CM/ECF Registered Participant(s):

None

DATED: September _£L, 2007,

PERKINS COIE LLP

By:
Christine M. Salmi

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